15 F.3d 1160
    304 U.S.App.D.C. 429
    NOTICE: D.C. Circuit Local Rule 11(c) states that unpublished orders, judgments, and explanatory memoranda may not be cited as precedents, but counsel may refer to unpublished dispositions when the binding or preclusive effect of the disposition, rather than its quality as precedent, is relevant.UNITED STATES of Americav.Kevin C. MINOR, Appellant.
    No. 93-3092.
    United States Court of Appeals, District of Columbia Circuit.
    Jan. 11, 1994.
    
      Before:  SILBERMAN, BUCKLEY and GINSBURG, Circuit Judges.
      JUDGMENT
      PER CURIAM.
    
    
      1
      This appeal was considered on the record from the United States District Court for the District of Columbia and on the briefs filed by the parties.  The court has determined that the issues presented occasion no need for an opinion.  See D.C.Cir.Rule 14(c).  It is
    
    
      2
      ORDERED AND ADJUDGED that the district court's order filed March 31, 1993, denying appellant's motion for reduction of sentence be affirmed.  Appellant failed to demonstrate that trial counsel was ineffective.  Furthermore, appellant waived his right to attack his sentence because he failed to raise the issues on direct appeal.
    
    
      3
      The Clerk is directed to withhold issuance of the mandate herein until seven days after disposition of any timely petition for rehearing.  See D.C.Cir.Rule 15.
    
    